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                      UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF TEXAS
                               EL PASO DIVISION
______________________________________
                                          §
ERIK SALAIZ,                              §
                                          §
                        Plaintiff,        §
                                          §
            v.                            §
                                          §
CHW GROUP INC, a New Jersey Corporation   §    Case No. 3:24-cv-00203
                                          §
                        Defendant.        §
______________________________________    §

                           PLAINTIFF’S ORIGINAL COMPLAINT


                                               PARTIES

1.     The Plaintiff is ERIK SALAIZ (“Plaintiff”) a natural person, resident of the Western

District of Texas, and was present in Texas for all calls, in this case in El Paso County, Texas.

2.     Defendant CHW GROUP INC (“CHW” “Defendant”) is a corporation organized and

existing under the laws of New Jersey and can be served via registered agent Brian Tretter at

2147 Route 27 South, Suite 400, Edison, New Jersey 08817.

                                 JURISDICTION AND VENUE

3.     Jurisdiction. This Court has federal-question subject matter jurisdiction over Plaintiff’s

TCPA claims pursuant to 28 U.S.C. § 1331 because the TCPA is a federal statute. Mims v. Arrow

Fin. Servs., LLC, 565 U.S. 368, 372 (2012). Defendants’ telemarketing robocalls to Plaintiff;

adds little complexity to the case.

4.     Personal Jurisdiction. This Court has general personal jurisdiction over the defendant

because they have repeatedly placed calls to Texas residents, and derive revenue from Texas

residents, and they sell goods and services to Texas residents, including the Plaintiff.


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5.      Venue. Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)(1)-(2) because a

substantial part of the events giving rise to the claims—the calls and sale of goods and services

directed at Texas residents, including the Plaintiff—occurred in this District and because the

Plaintiff resides in this District. Residing in the Western District of Texas when he received a

substantial if not every single telemarketing call from the Defendant that are the subject matter of

this lawsuit.

6.      This Court has venue over the Defendant because the calls at issue were sent by the

above-named Defendant to the Plaintiff, a Texas resident.

                     THE TELEPHONE CONSUMER PROTECTION ACT

                                      OF 1991, 47 U.S.C. § 227

7.      In 1991, Congress enacted the TCPA to restrict the use of sophisticated telemarketing

equipment that could target millions of consumers en masse. Congress found that these calls

were not only a nuisance and an invasion of privacy to consumers specifically but were also a

threat to interstate commerce generally. See S. Rep. No. 102-178, at 2-3 (1991), as reprinted in

1991 U.S.C.C.A.N. 1968, 1969-71.

8.      The TCPA makes it unlawful “to make any call (other than a call made for emergency

purposes or made with the prior express consent of the called party) using an automatic

telephone dialing system or an artificial or prerecorded voice … to any telephone number

assigned to a … cellular telephone service.” 47 U.S.C. § 227(b)(1)(A)(iii).

9.      The TCPA makes it unlawful “to initiate any telephone call to any residential telephone

line using an artificial or prerecorded voice to deliver a message without the prior express

consent of the called party, unless the call is initiated for emergency purposes, is made solely

pursuant to the collection of a debt owed to or guaranteed by the United States, or is exempted



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by rule or order” of the Federal Communication Commission (“FCC”). 47 U.S.C. §

227(b)(1)(B).

10.    The TCPA provides a private cause of action to persons who receive calls in violation of

§ 227(b). 47 U.S.C. § 227(b)(3).

11.    Separately, the TCPA bans telemarketing calls without a do-not-call policy available

upon demand. 47 U.S.C. § 227(c); 47 C.F.R. § 64.1200(d)(1).1

12.    The TCPA provides a private cause of action to persons who receive calls in violation of

§ 227(c) or a regulation promulgated thereunder. 47 U.S.C. § 227(c)(5).

13.    According to findings of the FCC, the agency vested by Congress with authority to issue

regulations implementing the TCPA, automated or prerecorded telephone calls are a greater

nuisance and invasion of privacy than live solicitation calls and can be costly and inconvenient.

14.    The FCC also recognizes that “wireless customers are charged for incoming calls whether

they pay in advance or after the minutes are used.” In re Rules and Regulations Implementing

the Tel. Consumer Prot. Act of 1991, 18 FCC Rcd. 14014, 14115 ¶ 165 (2003).

15.    The FCC requires “prior express written consent” for all autodialed or prerecorded

telemarketing robocalls to wireless numbers and residential lines. In particular:[A] consumer’s

written consent to receive telemarketing robocalls must be signed and be sufficient to show that

the consumer: (1) received clear and conspicuous disclosure of the consequences of providing

the requested consent, i.e., that the consumer will receive future calls that deliver prerecorded

messages by or on behalf of a specific seller; and (2) having received this information, agrees

unambiguously to receive such calls at a telephone number the consumer designates. In addition,




1
 See Code of Federal Regulations, Title 47, Parts 40 to 60, at 425 (2017)
(codifying a June 26, 2003 FCC order).
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the written agreement must be obtained without requiring, directly or indirectly, that the

agreement be executed as a condition of purchasing any good or service.

16.    In the Matter of Rules & Regulations Implementing the Tel. Consumer Prot. Act of 1991,

27 FCC Rcd. 1830, 1844 ¶ 33 (2012) (footnote and internal quotation marks omitted). FCC

regulations “generally establish that the party on whose behalf a solicitation is made bears

ultimate responsibility for any violations.” In the Matter of Rules and Regulations Implementing

the Tel. Consumer Prot. Act of 1991, 10 FCC Rcd. 12391, 12397 ¶ 13 (1995).

17.    The FCC confirmed this principle in 2013, when it explained that “a seller … may be

held vicariously liable under federal common law principles of agency for violations of either

section 227(b) or section 227(c) that are committed by third-party telemarketers.” In the Matter

of the Joint Petition Filed by Dish Network, LLC, 28 FCC Rcd. 6574, 6574 ¶ 1 (2013).

18.    Under the TCPA, a text message is a call. Satterfield v. Simon & Schuster, Inc., 569 F.3d

946, 951 – 52 (9th Cir. 2009).

19.    A corporate officer involved in the telemarketing at issue may be personally liable under

the TCPA. E.g., Jackson Five Star Catering, Inc. v. Beason, Case No. 10-10010, 2013 U.S. Dist.

LEXIS 159985, at *10 (E.D. Mich. Nov. 8, 2013) (“[M]any courts have held that corporate

actors can be individually liable for violating the TCPA where they had direct, personal

participation in or personally authorized the conduct found to have violated the statute.” (internal

quotation marks omitted)); Maryland v. Universal Elections, 787 F. Supp. 2d 408, 415 – 16 (D.

Md. 2011) (“If an individual acting on behalf of a corporation could avoid individual liability,

the TCPA would lose much of its force.”).

                                    FACTUAL ALLEGATIONS

20.    Plaintiff successfully registered his personal cell phone (XXX) XXX-6805 on the



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National Do-Not-Call Registry May 19, 2022, which was more than 31 days prior to receiving

the alleged calls.

21.      Plaintiff never asked the National Do-Not-Call Registry administrator to remove him

from the National Do-Not-Call Registry and Plaintiff was on the National Do-Not-Call Registry

at all times relevant to this Complaint.

22.      Plaintiff’s phone number 6805 is a residential number that he uses for personal purposes

and is not used for any business purposes.

23.      Defendant CHW offers home warranty services to consumers nationwide including

Texas.

24.      As part of their marketing their home warranty services, Defendant CHW engages in

illegal telemarketing by calling residential phone numbers that are registered on the National Do-

Not-Call registry.

25.      Defendant CHW makes these calls without the prior express written consent of the called

party.

26.      Defendant CHW has been sued multiple times for violating the TCPA including a lawsuit

Plaintiff had against Defendant Salaiz v CHW Group Inc., No. 3:23-cv-00131-DB (W.D.TX.,

Mar. 31, 2023) and refuses to curtail their illegal behavior because violating the TCPA benefits

Defendant CHW financially.

27.      Plaintiff received at least two (2) unauthorized telemarketing calls to his personal cell

phone 6805 within a one-month period from Defendant CHW soliciting home warranty services

(“the calls’).

28.      Plaintiff did not provide his prior express written consent to receive any of the calls.




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29.      Call #1 – On April 16, 2024, at 1:09 PM, Plaintiff received a call to his personal cell

phone 6805 from Defendant CHW from phone number (915) 245-3209.

30.      Plaintiff answered and was connected to a male representative who advised Plaintiff he

was with Defendant CHW.

31.      The representative was soliciting home warranty services.

32.      Plaintiff advised the representative he was not interested and disconnected the call.

33.      Call #2 – On April 23, 2024, at 11:49 AM, Plaintiff received a call to his personal cell

phone 6805 from Defendant CHW from phone number (850) 938-4674.

34.      Plaintiff answered and was connected to a male representative named Alex who advised

Plaintiff he was with Defendant CHW.

35.      Alex was soliciting home warranty services and asked Plaintiff qualifying questions

regarding a home warranty policy.

36.      Alex then transferred Plaintiff to another representative with Defendant CHW named

Shawn.

37.      Shawn asked Plaintiff more qualifying questions and solicited Plaintiff for a home

warranty policy from Defendant CHW.

38.      Shawn advised Plaintiff the cost of the policy was $49.25/mnth.

39.      Plaintiff received an email from Defendant CHW from

confirm@choicehomewarranty.com that contained the details of the CHW policy. See Exhibit A.

40.      On April 23, 2024, Plaintiff sent an email to Defendant CHW through its attorney Paul

Heeringa advising Defendant CHW of the alleged calls.

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41.     Defendant CHW did not deny making the alleged calls.

42.     Defendant CHW employs outrageous, aggressive, and illegal sales techniques that violate

multiple federal laws and state consumer statutes.

43.     Each and every call was placed while knowingly ignoring the national do-not-call

registry.

44.     Upon information and belief, Defendant CHW did not train their representatives who

engaged in telemarketing on the existence and use of Defendant CHWs internal do not call

policy as they failed to recognize Plaintiff’s personal cell phone 6805 is registered on the

National Do-Not-Call Registry.

45.     Defendant CHW is not registered pursuant to § 302.101 of the Texas Business &

Commerce Code to provide telephone solicitations. The

https://direct.sos.state.tx.us/telephonesearch.asp site (“Texas Registration Database”) does not

contain Defendant CHW’s registration.

46.     Defendant CHW does not qualify for an exemption under § 302.053.

47.     No emergency necessitated none of the alleged calls.

48.     Plaintiff has limited data storage capacity on his cellular telephones. Incoming

telemarketing calls consumed part of this capacity.

                   INJURY, HARM, DAMAGES, and ACTUAL DAMAGES

                                 AS A RESULT OF THE CALLS

49.     The calls harmed the Plaintiff by causing the very harm that Congress sought to

prevent—a “nuisance and invasion of privacy.”

50.     The calls harmed the Plaintiff by trespassing upon and interfering with Plaintiff’s rights

and interests in Plaintiff’s cellular telephone.



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51.    The calls harmed the Plaintiff by intruding upon Plaintiff’s seclusion.

52.    Plaintiff has been harmed, injured, and damages by the calls including, but not limited to:

reduced device storage, reduced data plan usage, anger, frustration, invasion of privacy, and

more frequent charging of his cell phones.




                Violations of the Texas Business and Commerce Code 305.053


53.    The actions of the Defendant violated the Texas Business and Commerce Code 305.053 by

placing unauthorized calls to a cell phone using an artificial or prerecorded voice message which

violates 47 USC 227(b). The calls violated Texas law by placing unauthorized calls to a cell phone

which violates 47 USC 227(c)(5) and 47 USC 227(d) and 47 USC 227(d)(3) and 47 USC 227(e).

54.    The calls violated Texas law by spoofing the caller IDs per 47 USC 227(e) which in turn

violates the Texas statute.

                Violations of the Texas Business and Commerce Code 302.101

55.    The actions of the Defendant violated the Texas Business and Commerce Code § 302.101

by placing solicitation calls to Plaintiff, a Texas resident, without having a valid solicitation

registration certificate and a valid bond.

56.    Under Texas Business and Commerce Code § 302.302(a) Plaintiff is entitled to seek

damages of up to $5000 per violation of § 302.101.



                                      CAUSES OF ACTION




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                                              COUNT ONE:

 (Violation of the TCPA “Sales Call/DNC” Prohibition, 47 U.S.C. 227(c), and 47 C.F.R. §

                                            64.1200(C))


57.    Plaintiff realleges and incorporates by reference each and every allegation set forth in the

preceding paragraphs.

58.    Defendant CHW called Plaintiff’s private residential telephone number which was

successfully registered on the National Do-Not-Call Registry more than thirty-one (31) days

prior to the calls for the purposes of commercial solicitation, in violation of 47 U.S.C. §

227(c)(3)(F), and 47 C.F.R. § 64.1200(c)(2).

59.    Plaintiff was statutorily damaged at least two (2) times under 47 U.S.C. § 227(c)(3)(F) by

Defendant CHW by the telemarketing calls described above, in the amount of $500.00 per call.

60.    Plaintiff was further statutorily damaged because Defendant CHW willfully and/ or

knowingly violated this subsection of the TCPA. Plaintiff requests that the court treble the

damage amount as permitted under U.S.C. § 227(c)(5) for each and every willful and/or knowing

violation.

61.    Plaintiff is entitled to an award up to $1,500 in damages for each knowing or willful

violation of 47 U.S.C. § 227(c)(3)(F).


                                             COUNT TWO:

                 Violations of The Texas Business and Commerce Code 305.053


62.    Plaintiff incorporates the foregoing allegations as if set forth herein.

63.    The foregoing acts and omissions of Defendant CHW constitute multiple violations of the

Texas Business and Commerce Code 305.053, by making non-emergency telemarketing calls

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to Mr. Salaiz cellular telephone number without his prior express written consent in violation of

47 USC 227 et seq.

64.     Plaintiff is entitled to an award of at least $500 in damages for each such violation.

Texas Business and Commerce Code 305.053(b)

65.    Plaintiff is entitled to an award of up to $1,500 in damages for each such knowing or

willful violation. Texas Business and Commerce Code 305.053(c)

                                      COUNT THREE:

                 Violations of The Texas Business and Commerce Code 302.101



66.     Plaintiff incorporates the foregoing allegations as if set forth herein. by reference each

and every allegation set forth in the preceding paragraphs.

67.    The foregoing acts and omissions of Defendant CHW constitute multiple violations of the

Texas Business and Commerce Code 302.101, by making non-registered solicitation calls to

Plaintiff’s cellular telephone number without his prior express written consent.

68.    Plaintiff is entitled to an award of up to $5,000 in damages for each such knowing or

willful violation. Texas Business and Commerce Code 302.302(a).

69.    Plaintiff is entitled to recover all reasonable costs of prosecuting the action, including

court costs and investigation costs, deposition expenses, witness fees, and attorney’s fees. Texas

Business and Commerce Code 302.302(d).




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                                       PRAYER FOR RELIEF

       WHEREFORE, Plaintiff Erik Salaiz prays for judgment against the Defendant jointly and

severally as follows:

       A.      Leave to amend this Complaint to name additional DOESs as they are identified

and to conform to the evidence presented at trial;

       B.      A declaration that actions complained of herein by the Defendant violates the

TCPA and Texas state law;

       C.      An injunction enjoining the Defendant and their affiliates and agents from

engaging in the unlawful conduct set forth herein;

       D.      An award of $1500 per call in statutory damages arising from the TCPA §227(c)

intentional violations jointly and severally against the corporation for two calls.

       E.      An award of $1,500 in statutory damages arising from violations of the Texas

Business and Commerce code 305.053 intentional violations jointly and severally against the

corporation for two calls.

       F.      An award of $5,000 in statutory damages arising from violations of the Texas

Business and Commerce code 302.101 intentional violations jointly and severally against the

corporation for two calls.


       G.      An award to Mr. Salaiz of damages, as allowed by law under the TCPA and

Texas state law;

       H.      An award to Mr. Salaiz of interest, costs, and attorneys’ fees, as allowed by law

and equity

       I.      Such further relief as the Court deems necessary, just, and proper.



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June 12, 2024,                      Respectfully submitted,




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